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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

KENNETH NASSET                               *              CASE NO. 18-9253

        vs.                                  *              SECT. A(1)

UNITED STATES OF AMERICA                     *              JUDGE ZAINEY

                                             *              MAG. VAN MEERVELD

                     THE UNITED STATES’ EXPERT DISCLOSURES

        The United States hereby designates its expert witnesses in accordance with the Federal

Rules of Civil Procedure and Local Rules of this Court as the following who may be called to

provide testimony on behalf of the United States:

Retained Experts

    1. Dr. Frederick Kushner – expert witness
       WJMC Heart Clinic
       1111 Medical Center Blvd.
       Suite N613
       Marrero, LA 70072

        Dr. Kushner’s report and curriculum vitae have already been produced to the plaintiff.

    2. Dr. Merlin Wilson – expert witness
       The Rheumatology Group, LLC
       2633 Napoleon Ave.
       Suite 530
       New Orleans, LA 70115

        Dr. Wilson’s report, curriculum vitae, and declaration have already been produced to the

plaintiff.

Treating Physicians

    1. Dr. Nkechinye Emejuaiwe – Plaintiff’s treating rheumatologist
       Cincinnati VA Medical Center
       3200 Vine Street
       Medicine Service

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       Attn: Rheumatology Section
       Cincinnati, OH 45220

       Dr. Emejuaiwe is a rheumatologist who examined Mr. Nasset on June 5, 2017 for a follow-

up with a history of arthralgias and swelling with chronic back pain. Dr. Cassidy may testify that

he was suspected for spondyloarthropathy with probable psoriatic arthritis given the join

pain/swelling and rash. Dr. Emejuaiwe may testify that she was unable to conclude that Mr.

Nasset’s psoriatic arthritis was a misdiagnosis. Further, on June 5, 2017, Mr. Nasset did not report

any cardiovascular side effects of Enbrel to her. Her review of systems and physical examination

on June 5, 2017 did not support any cardiovascular side effects in Mr. Nasset.

       Dr. Emejuaiwe may testify that on June 5, 2017, she suggested to Mr. Nasset that he

discontinue Enbrel because his description of pain along with her physical examination findings

were not consistent with systemic inflammation. However, Mr. Nasset responded that he did not

want to be taken off Enbrel. He reported that he had tolerated the medication and wanted to

continue taking Enbrel because the benefits he derived from Enbrel were quite significant

including less pain and more energy. Thus, the medication Enbrel was medically indicated on June

5, 2017.

       Dr. Emejuaiwe may testify that at that June 5, 2017 visit, she went over the risks of

immunosuppressive therapy (in this case Enbrel, a tumor necrosis factor inhibitor), including the

risk of infection, exacerbation of existing heart failure, bone marrow and liver abnormalities,

allergic reaction, diarrhea, neurologic deficits and the low risk of developing new congestive heart

failure or lung disease. Afterwards, Mr. Nasset acknowledged his understanding of the risks

associated with Enbrel.




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    2. Dr. Mark Cassidy – Plaintiff’s treating cardiologist
       415 Tulane Ave.
       New Orleans, LA 70112

        Dr. Mark Cassidy is a cardiologist who examined the plaintiff on July 28, 2017. Dr.

Cassidy may testify as to the causation element of the Plaintiff’s medical malpractice claim and

the informed consent claim, as stated in the Plaintiff’s medical records. Dr. Cassidy may testify

that Mr. Nasset was admitted to Tulane Medical Center on 6/17/17 with chest pain and at that time

was found to have newly diagnosed cardiomyopathy and congestive failure. An angiogram showed

normal coronary arteries therefore his cardiomyopathy is not secondary to ischemic heart disease.

Speculation was made as to the etiology of the cardiomyopathy of which the cause is uncertain;

he had been prescribed Enbrel for presumed psoriatic arthritis 11/17 but this was discontinued on

discharge as a precautionary measure because of case reports of Enbrel causing or exacerbating

heart failure.

        Dr. Cassidy may testify that the cases of new onset CHF are rare and <0.1%. Although

there is the possibility that Enbrel induced new-onset CHF in Mr. Nasset, it is less likely than not

the cause because of its rare occurrence. One would have to resort to mere speculation to state with

certainty that Enbrel caused the patient's heart failure. Of note, the patient had a nuclear stress in

2010 at which time the left ventricular systolic function was mildly reduced at 43%, but he did not

manifest clinical congestive heart failure until 6/17. Congestive heart failure is a clinical syndrome

whereas the presence of a reduced ejection fraction is termed cardiomyopathy. Until there are

symptoms related to that cardiomyopathy, CHF is not present.

        Dr. Cassidy may testify that Mr. Nasset was seen in routine follow in clinic and actually

was said at one point to "feel better" after initiating Enbrel. There would be no question of any

cardiac issues unless or until symptoms occurred, which did not happen until 6/17/17.



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       Dr. Cassidy may testify that there is no reason to believe that the treating physicians would

evaluate for cardiac involvement until or unless symptoms of CHF occurred. The medical records

suggests that the symptoms of CHF did not occur until 6/17/17, at which time the patient was

evaluated in the hospital, a non-ischemic cardiomyopathy was diagnosed, and the medication was

discontinued as a precautionary measure.

       The USA also reserves the right to call any and all of Plaintiff’s proffered expert witnesses,

including but not limited to the following:

           a.   Dr. Mark Levin
           b.   Dr. Kalavally Sriharan
           c.   Dr. Carla Leuschen
           d.   Dr. Manuel Vargas
           e.   Dr. Chandara Kollipara, DO
           f.   Dr. Ali Ayoub
           g.   Dr. Kevin Cartwright
           h.   Dr. Marcia Davila
           i.   Charde Duncan, RN
           j.   Meredith Barr, MD
           k.   Dr. Karinka Ayinapudi
           l.   Dr. Thierry Lejemtel
           m.   Margaret Maxi, MD
           n.   Meredith Barr, MD
           o.   Mark Cassidy, MD
           p.   Manmeet Singh, MD

                                                      Respectfully submitted,

                                                      PETER G. STRASSER
                                                      UNITED STATES ATTORNEY
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